

Mejia v 110 William, LLC (2021 NY Slip Op 03415)





Mejia v 110 William, LLC


2021 NY Slip Op 03415


Decided on June 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 01, 2021

Before: Kern, J.P., Moulton, González, Scarpulla, JJ. 


Index No. 302847/14 Appeal No. 13973 Case No. 2020-04399 

[*1]Lissette Mejia, Plaintiff- Appellant,
v110 William, LLC, et al., Defendants-Respondents.


Sacco &amp; Fillas, LLP, Astoria (Alexander Berger of counsel), for appellant.
Gallo Vitucci Klar LLP, New York (Andrew C. Kaye of counsel), for respondents.



Order, Supreme Court, Bronx County (Howard H. Sherman, J.), entered on or about January 7, 2020, which granted defendant Swig Burris Equities, LLC's motion for summary judgment dismissing the complaint as against it, unanimously affirmed, without costs.
Plaintiff's testimony that her job responsibilities as a cleaner for the building managed by defendant Swig included cleaning soap spills when she mopped the bathroom floor is fatal to her claim that Swig negligently permitted the subject floor "to be and become wet, slippery, saturated with soap and/or soap suds" (Jackson v Board of Educ. of City of N.Y., 30 AD3d 57, 63 [1st Dept 2006]; see also Black v Wallace Church Assoc., 147 AD3d 668, 669 [1st Dept 2017]; Imtanios v Goldman Sachs, 44
AD3d 383, 385-386 [1st Dept 2007], lv dismissed 9 NY3d 1028 [2008]).
In light of the foregoing, we need not reach plaintiff's remaining arguments.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 1, 2021








